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16    Attorneys for Plaintiffs

17

18                                 UNITED STATES DISTRICT COURT
19                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
20

21   CALIFORNIA COALITION FOR WOMEN               Case No. 4:23-cv-04155-YGR
     PRISONERS et al.,
22                                                DECLARATION OF SUSAN M. BEATY
                           Plaintiffs,            IN SUPPORT OF PLAINTIFFS’
23                                                ADMINISTRATIVE MOTION
           v.                                     PURSUANT TO CIVIL L.R. 7-11 FOR
24                                                INCREASED ATTORNEY VISITATION
     UNITED STATES OF AMERICA                     BEFORE THE JANUARY 3
25   FEDERAL BUREAU OF PRISONS et al.,            EVIDENTIARY HEARING
26                         Defendants.
27

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     BEATY DECL. ISO PLAINTIFFS ADMIN MOTION                      CASE NO. 4:23-cv-04155-YGR
          Case 4:23-cv-04155-YGR Document 79-1 Filed 12/28/23 Page 2 of 2



 1          I, Susan M. Beaty, hereby declare as follows:

 2          1.      I am an attorney admitted to practice law in the State of California (SBN 324048). I

 3   am a Senior Attorney at the California Collaborative For Immigrant Justice and counsel for Plaintiffs

 4   in the above captioned matter.

 5          2.      I submit this declaration in support of Plaintiffs’ Administrative Motion For Increased

 6   Attorney Visitation Before The January 3 Evidentiary Hearing. I have personal knowledge of the

 7   facts stated herein and, if called as a witness, could and would testify competently thereto.

 8          3.      Attached hereto as Exhibit 1 is a true and correct copy of an email chain between

 9   Plaintiffs’ counsel and FCI Dublin, dated December 21-23, 2023.

10          4.      Attached hereto as Exhibit 2 is a true and correct copy of an email chain between

11   myself and Defendants’ counsel, dated December 23-28, 2023.

12          5.      Attached hereto as Exhibit 3 is a true and correct copy of an email between Plaintiffs

13   counsel and Defendants’ counsel, dated December 15, 2023.

14          6.      On December 27, 2023, Government counsel informed Plaintiffs’ counsel that the

15   Government would be adding five unidentified FCI Dublin inmates to its witness list but declined to

16   name the actual individuals until December 29, 2023, at the earliest.

17

18   Dated: December 28, 2023                      Respectfully submitted,

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20
                                                   By: /s/ Susan M. Beaty
21                                                     Susan M. Beaty

22                                                 RIGHTS BEHIND BARS
                                                   CALIFORNIA COLLABORATIVE FOR
23                                                 IMMIGRANT JUSTICE
24                                                 ROSEN BIEN GALVAN & GRUNFELD LLP
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25
                                                   Attorneys for Plaintiffs
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     BEATY DECL. ISO PLAINTIFFS ADMIN MOTION                                  CASE NO. 4:23-cv-04155-YGR
